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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 14-cr-20780
                                                    Hon. Matthew F. Leitman
v.

CURTIS SCOTT,

          Defendant.
__________________________________________________________________/

             ORDER GRANTING LEAVE TO FILE A MOTION
                 UNDER 28 U.S.C. §2255 (ECF No. 643)

      Defendant Curtis Scott has filed a pro se motion for leave to file a motion

under 28 U.S.C. §2255. The motion is GRANTED. Scott may file a motion under

28 U.S.C. §2255. Scott would be well-advised to research and understand how his

pending direct appeal – including the issues he has raised in that appeal and the

issues he has not raised in that appeal – may impact the issues he wishes to raise in

his motion under 28 U.S.C. §2255.

      IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
Dated: November 2, 2020                UNITED STATES DISTRICT JUDGE




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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on November 2, 2020, by electronic means and/or
ordinary mail.

                                     s/Holly A. Monda
                                     Case Manager
                                     (810) 341-9764




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